Case 1:18-md-02865-LAK   Document 46-2   Filed 12/06/18   Page 1 of 7




                         Exhibit 2
Case 1:18-md-02865-LAK   Document 46-2   Filed 12/06/18   Page 2 of 7
Case 1:18-md-02865-LAK   Document 46-2   Filed 12/06/18   Page 3 of 7
Case 1:18-md-02865-LAK   Document 46-2   Filed 12/06/18   Page 4 of 7
Case 1:18-md-02865-LAK   Document 46-2   Filed 12/06/18   Page 5 of 7
Case 1:18-md-02865-LAK   Document 46-2   Filed 12/06/18   Page 6 of 7
Case 1:18-md-02865-LAK   Document 46-2   Filed 12/06/18   Page 7 of 7
